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        EXHIBIT
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               UNITED STATES DISTRICT COURT
                                         for the
                              Eastern District of Louisiana




                                           )
fflRAN RODRIGUEZ
                                                   CIVIL ACnON NO. 25-197

               Plaintiff(s)                        SECTION: “A” (2)

                                                   JUDGE JAY C.ZAINEY

                  V.                       )       MAG. JUDGE DONNA PHILLIPS CURRAULT

                                           )

META PLATFORMS, INC., ET AL,
                                           )

              Defendant(s)

                                           )




NOTICE TO COURT OF SUBMISSION OF EVIDENCE TO COUNSEL OF RECORD
    Case 2:25-cv-00197-JCZ-DPC
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NOW INTO COURT, comes Plaintiff, Hiran Rodriguez, appearing pro se, who submits this

Notice to inform the Court that on March 24,2025, Plaintiff disclosed to all counsel of record a

shared OneDrive folder titled:




   Ongoing Evidence of Noise Harassment & Surveillance - March 2025




This folder contains video, audio, photographic, and narrative documentation of alleged

coordinated harassment, stalking, and surveillance by multiple named Defendants, including

but not limited to:



• Jefferson Parish Sheriff’s Office (JPSO),


• The Kansas City Southern Railway Company,


• Third District Volunteer Fire Department,


• LCMC Healthcare Partners, LLC


• X Corp., and affiliated personnel.




Subfolders include:



• Patrol & Siren Patterns,




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• Rail Horn Timelines,



• Emergency V ehicle Activity,


• Suspected Mobile Surveillance Footage, and


• Preservation Requests




Plaintiff also issued a Preservation Notice to all counsel, requesting that Defendants


immediately retain all related internal commimications, logs, dispatch records, surveillance data.

employee schedules, and relevant digital files from March 2025 and prior.




This voluntary submission was originally made during the stay, and Plaintiff now brings it

formally to the Court’s attention following the reopening of this matter as of March 25, 2025, so

that the evidence may be appropriately considered as part of pending and forthcoming motions,

including the motion for evidentiary hearing.




Respectfully submitted.




/s/ Hiran Rodriguez




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Hiran Rodriguez


Pro Se Plaintiff


820 Grove Ave, Metairie, LA 70003


(504) 203-8459


hiranrodriguez@outlook. com


Dated: March 25,2025




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                               CERTIFICATE OF SERVICE




I, Hiran Rodriguez, Plaintiffpro se, hereby certify that on March 25,2025,1 electronically

submitted the following documents through the Electronic Document Submission System

(EDSS) of the United States District Court for the Eastern District of Louisiana:


       Notice to Court of Submission of Evidence to Counsel of Record


       Any other related filings submitted concurrently


Pursuant to Local Rule 5.4 and the Federal Rules of Civil Procedure, notice of this filing will


be electronically served via CM/ECF to all counsel of record who have made an appearance

in this case. For those defendants who have not yet made an appearance, I further certify

that they are currently in the process of being served by the United States Marshal Service

in accordance with Federal Rule of Civil Procedure 4(c)(3).




Respectfully submitted,




/s/ Hiran Rodriguez


Hiran Rodriguez


Pro Se Plaintiff


820 Grove Ave, Metairie, Louisiana, 70003-7024.


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hiranrodriguez@outlook. com


Date: March 25,2025




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Stacy. Pecoraro

From:                           Do Not Reply <do_not_reply@laed.uscourts.gov>       i
Sent:                           Tuesday, March 25, 2025 1:50 PM                     |
to:                             LAEDmLPro Se                                            |
Subject:                        New EDSS Filing Submitted                                   ;
Attachments:                    NOTICE TO COURT OF SUBMISSION OF EVIDENCE TO COUNSEL OF RECORD.pdf
                                                                                                1




Greetings Pro Se Desk,

A'new EDSS filing has been submitted through the portal. The filing was submitted on Tuesday, March'25'r'
5025 -13:50.-
                                                                                                    I

The information for this submission is:


Filer’s Name: Hiran Rodriguez

Filer's Email: hiranrodriguez@outlook.com

Filer’s Mailing Address: 820 Grove Ave, Metairie, l_A, 70003
                                                                                                        I

Filer’s Phone Number: 5042038459


Filer’s Case Number (If Known): 2:25-cv-00197-JCZ-DPC

Filer’s Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: NOTICE TO COURT OF SUBMISSION OF EVIDENCE TO COUNSEL
OF RECORD


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